 

Case 1:09-cv-09175-C|\/|-|\/|HD Document 167 Filed 11/01/13 Page 1 of 2

DWQ,{T\O.NO/}, ‘ `1

UNITED STATE'S DlS'l`RlCT COUR'I`

SOUTHERN DlSTRlC'l` OF NEW YORK
----------------------------------------- x
THOMAS OAKLEY, RON ADDEO, THOMAS BARRY,:
MARCELCABRERA, JOSEPH CARBALLO, :
MA'I'I`HEW CHRISTlE, LAUREN COLCLOUGH, .
AILEEN CORNIELLE, MIKB DOWD, PAUL DUNN, : 09 Civ. 9175 (CM)(MHD)
JULIET FOUNTAIN, GAVlN FRATER, BRENDA ' '

FR|TCHY, NILSA GREENE, ADRIANE : ‘
GRZYBOWSKI, ELAINE HENDERSON, GEORGE ' : STIPULATION OF
HOLMAN, KEVIN KABR, JEFFREY LEROY, ANGELA: DISCONTINUANCE
LUCAS, MARV GIORGI, CHRISTOPHER MCCARTHY,: WITH PREJUDICE
DENNIS MCGEE, NOEL MELENDEZ, ED :

MIDDBNDORF, DEBBIE MONROE, LAURA NUSS,

RAY PEAY, KlMBERLY PEREIRA, MICHELLE

PROCK, PAM RElNHElMER, DAISY RIVERA,

ANTHONY SICURANZO, MARCHELLE SMITH, . .. ,_ K_ 1 1 r_ ` w
CHARLES SPINA`LE, LORRlS WATSON, and JUDITH : ' 3 , `.'.,r "
WH!GHAM, individually and on behalf of all others : 1
similarly situated, ': z z "

PlaintifTS,

v. :'

 

VERIZON COMMUN[CAT[ONS INC., VERIZON
WASHINGTON, DC INC., VERIZON SOUTH INC.,
VERlZON DELAWARE LLC, VERIZON AVENUE .
CORP. (D/B/A VERIZON ENHANCED .
COMMUNITIES), VER|ZON PENNS_YLVANIA INC.,
VERIZON NEW ENGLAND lNC., VERIZON NEW
JERSEY INC., VER.IZON SELECT SERVICES INC.,
VERIZON TELEPRODUCTS CORP., VERIZON
CONNECTED SOLUTIQNS l`NC., VERlZON NEW
YORK INC., EMPlRE CITY SUBWAY COMPANY
(Ll`Ml'l`ED), VERlZON MARYLAND lNC.,' VERIZON

` VlRGINIA INC., VERIZON WEST VIRGINIA [NC., .
VBR{ZON SERVICES CORP., VERJZON CORPORATE:
SERVlCES CORP., .

Defendants. .
......................................... x

lT IS HER_EBY STIPULATED AND AGREED, by and between the undersigned, the
attorneys for the parties to the above-entitled action, that, whereas no party hereto is an infant or

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incompetent person for whom a committee has been appointed, and no person not a party herein
has an interest in the subject matter of this action, the above~entitled action be and the same
hereby is, discontinued with prejudice in its entirety, without costs, disbursements and/or
attemeys’ fees to any party as against the others, except as set forth in the respective Scttiement
Agreements between Defendants and Piaintiffs. This Stipuiation may be filed with the Clerk _of`

the Court without further notice.

Dated: New York, New York Dated: N.ew York, New York
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P ' LE'\§€LIFT K 11 P.c.
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~ y By:

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At:orneysfor Def nd ts ` Atlorneysfor Plaimi@%

So Ordcred:

U.S.D.J. _ 03

